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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION

 TRUTEK CORP.,

                    Plaintiff,                    Case No. 4:21-cv-10312

 v.                                                Hon. F. Kay Behm

 BLUEWILLOW BIOLOGICS, INC., et.
 al.

                   Defendants.


         PLAINTIFF’S MOTION TO EXTEND TIME TO REPLY TO
        DEFENDANT’S MOTION TO EXCLUDE EXPERT WITNESSES

      Plaintiff/Counter-Defendant Trutek Corp through their undersigned counsel,

respectfully move for an order extending the deadlines to reply to Defendants Motions to

Exclude Expert Witness Testimony by an additional thirty (30) days.

       On March 15, 2023, Defendant/Counter-Plaintiff Bluewillow Biologics, Inc.

(hereinafter “Defendant”) filed a Motion to Exclude the Expert Reports and Testimonies

of Alexei Ermakov and Shane Burns. On that same day, Defendant filed a Motion to

Exclude the Expert Report and Testimony of Amirali Y. Haidri. Subsequently on March

28, 2023, Defendant filed a Motion for Summary Judgement. Sometime afterwards, the

parties conferred, and they agreed that an additional fourteen days beyond the statutory

limitation would be granted for Plaintiff to Respond to Defendant’s dispositive and non-

dispositive motions. A stipulated motion was made, and the Court approved this agreement.

In this motion and order, no exact due dates were given, and Plaintiff was under the
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impression that Motions to Exclude Expert Witnesses were due twenty-one days after

service because they were essentially all dispositive motions with a direct connection to

Defendant’s Motion for Summary Judgement. Under Local Rule 7.1(e)(2), Responses to

Motions for Summary Judgement, and for injunctive relief are due within twenty-one days

of service. Thus, the due date for Plaintiff’s Reply to Defendant’s Motions to Exclude

Expert Witnesses would have been due on April 20, 2023. Counsel for Plaintiff

communicated with Counsel for Defendant, who does not agree to an extension for Plaintiff

to respond to the Motions to Exclude Expert Witnesses. Counsel for Defendant stated her

opinion that the due date for the Motions to Exclude Expert Witnesses has expired.

       Plaintiff requests this extension due to extenuating circumstances. On April 15,

2023, Lead-Counsel for Plaintiff, Stanley Kremen, Esq., required immediate and necessary

hospitalization related to a cardiac issue. Prior to Mr. Kremen’s hospitalization he was

suffering from an ongoing cardiac ailment that severely affected his ability to work

(Plaintiff is willing to provide a letter from Mr. Kremen’s Cardiologist upon request.)

Despite his illness, Mr. Kremen dedicated significant time and energy into responding to

Defendant’s Motions to Exclude.

       If Plaintiff is not permitted to respond to this motion, Plaintiff will suffer extreme

prejudice, which would represent unfair administration of justice. Conversely if this motion

is granted, Defendant will suffer no prejudice whatsoever.

       If the Court does take the position that Counsel for Plaintiff inadvertently and

incorrectly calculated the deadline to respond to Defendant’s Motions to Exclude Expert



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Witnesses, Counsel for Plaintiff apologizes for said error, and requests leave from the Court

to provide a Response to Defendant’s Motions in order to prevent unfair prejudice.

        Due to the seriousness and severity of Mr. Kremen’s health problems and the time

needed to recover and to provide adequate representation, Plaintiff hereby requests that the

Court grant an extension of thirty days to respond to Defendant’s Motions to Exclude

Expert Witnesses. The granting of this order will have the following effect: Plaintiff’s

Response to Defendant’s Motions to Exclude Expert Witnesses shall be due on May 22,

2023.

 Dated: April 20, 2023                       Respectfully Submitted,

                                            /s/ Stanley H. Kremen
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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION

 TRUTEK CORP.,

                    Plaintiff,                     Case No. 4:21-cv-10312

 v.                                                Hon. F. Kay Behm

 BLUEWILLOW BIOLOGICS, INC., et.
 al.

                   Defendants.


                            CERTIFICATE OF SERVICE

      I certify that on April 20, 2023, I served the foregoing Motion to Extend Time upon

all parties herein by filing copies of same using the ECF System.




                                          Keith Altman, Esq.




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